Case 18-12241-CSS Doc 407-1 Filed 10/25/18 Page 1 of 2

. Schedule 1

Leases

 

01:23779803.1

 

 

 

CaS€ 18-12241-CSS DOC 407-1 Filed 10/25/18

Schedule 11

Page 2 of 2

 

W-ARC Four Sixes, LLC
8150 Leesburg Pike, Suite 1100
Vienna, VA, 22182

Sleepy’s, LLC

6666 Security Blvd-STE 17-
20,
Woodlawn, MD 21207

 

WAV Provo LLC
c/o Wadsworth Development Group
166 East 14000 South, Suite 210
ATTN: Nate Ballard
Draper, UT, 84020

Mattress Firm, Inc.

1122 S. University Ave.,
Provo, UT 84601

 

West End Properties, LLC
c/o Woodmont Properties, Inc.
4919 Bethesda Avenue, Suite 200
Bethesda, MD, 20814

Mattress Discounters
Operations LLC

1065 West Broad St.,
Falls Church, VA 22046

 

Westford Marketplace, Inc.
c/o The Wilder Companies, Ltd.
800 Boylston Street, Suite 1300

Boston, MA, 02199

Sleepy’s, LLC

174 Littleton Road,
Westford, MA 01886

 

Westpark Business Center Company L.L.C.
4141 Highline Blvd., Suite 180
Oklahoma City, OK, 73108

Mattress Firm, Inc.

4139 W. Reno,
Oklahoma City, OK 73107

 

Westridge Park lnvestors Limited Partnership
3131 E. Camelback Road, Suite 310
Phoenix, AZ, 85016

Mattress Firm, Inc.

7230 W Ray Rd,
Chandler, AZ 85226

 

Wetherslield Shopping Center, LLC
c/o M.J. Neiditz & Company, Inc.
125 LaSalle Road, #304
ATTN: Steven C Neiditz
West Hartford, CT, 06107

Sleepy’s, LLC

1055 Silas Dean Highway,
Wethersfield, CT 06109

 

Woodlands Pinecroft Center
c/o Wulfe & Co.
1800 Post Oak Boulevard
6 Boulevard Place, Suite 400
Houston, TX, 77056

Mattress Firm, Inc.

1335 Lake Woodlands Dr.
Suite C,
The Woodlands, TX 773 82

 

 

 

York Road lnvestors LLC
c/o Conner Commercial Prop LLC
6401 Carmel Road, Suite 203
Charlotte, NC, 28226

 

Sleepy’s, LLC

 

8506 S Tryon Street Unit E,
Charlotte, NC 28273

 

 

 

l The inclusion of a Lease on this list does not constitute an admission as to the executory or non-executory nature of
the Lease, or as to the existence or validity of any claims held by the counterparty or counterparties to such Lease.

01;23779808_1

 

